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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Amaplat Mauritius Ltd.,
c/o CKLB International Management Ltd.,
P.O. Box 80, Felix House, 24 Dr. Joseph
Riviere Street, Port Louis 11602, Mauritius;
and

Amari Nickel Holdings Zimbabwe Ltd.,                Civil Action No. 1-22-cv-0058
c/o CKLB International Management Ltd.,
P.O. Box 80, Felix House, 24 Dr. Joseph
Riviere Street, Port Louis 11602, Mauritius,

                   Plaintiffs,

       v.

Zimbabwe Mining Development Corporation,
90 Mutare Road, Msasa, Harare, Zimbabwe;

The Chief Mining Commissioner, Ministry of
Mines of Zimbabwe,
6th Floor, ZIMRE Centre, Cnr. Leopold
Takawira Street/Kwame Nkrumah Avenue,
Private Bag 7709, Causeway, Harare,
Zimbabwe;

and the Republic of Zimbabwe,
c/o Head of the Ministry of Foreign Affairs,
Ministry of Foreign Affairs, P.O. Box 4240,
Munhumutapa Building, Cnr. Samora Machel
Avenue/Sam Nujoma Street, Harare,
Zimbabwe

                   Defendants.



                                    RETURN OF SERVICE

       On June 10, 2022, Plaintiffs filed an affidavit requesting foreign mailing to the Ministry

of Foreign Affairs of the Republic of Zimbabwe via DHL. (Dkt. 14). On June 13, Plaintiffs

requested that the Clerk effect service of one copy of the Summons, Complaint with Exhibits A
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through G, Notice of Suit and all other papers thus far electronically filed on this Docket via

DHL to the Ministry of Foreign Affairs of the Republic of Zimbabwe pursuant to 28 U.S.C. §

1608(a)(3). (Dkts. 15-17). The Clerk effected service via DHL and entered the Certificate of

Mailing into the record. (Dkt. 18). No translations were required because English is an official

language of Zimbabwe.

       I HEREBY CERTIFY that, pursuant to 28 U.S.C. § 1608(a)(3), I caused a copy of the

Summons, Complaint with Exhibits A through G, Notice of Suit and all other papers thus far

electronically filed on this Docket to be served on the Ministry of Foreign Affairs of the

Republic of Zimbabwe, by mailing the aforesaid documents to the said entity, addressed to the

Republic of Zimbabwe, Ministry of Foreign Affairs, P.O. Box 4240 Munhumutapa Building,

Samora Machel Avenue/ Sam Nujoma Street, Harare, Zimbabwe, which were delivered on June

20, 2022. True and correct copies of the DHL waybill, the tracking receipt, and the proof of

delivery are attached as Exhibit 1. An individual named “KATSIKA” signed for the receipt of

the package.

       I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing

information is true and correct.




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Dated: June 23, 2022                   Respectfully submitted,



                                         /s/ Steven K. Davidson
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